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                   Exhibit
                     B
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                             No. 23-_______
       In the United States Court of Appeals
               for the Fifth Circuit
                              ________________


                   Career Colleges & Schools of Texas,

                                                       Plaintiff-Appellant,
                                     v.

               United States Department of Education, et al.,

                                                      Defendants-Appellees.
                            ________________

              On Appeal from the United States District Court
             for the Western District of Texas, Austin Division
                          No. 1:23-cv-00433-RP
                            ________________

PLAINTIFF-APPELLANT’S OPPOSED EMERGENCY MOTION FOR
ADMINISTRATIVE INJUNCTION PENDING DECISION ON MOTION
            FOR INJUNCTION PENDING APPEAL
                    ________________

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  Katherine Hancock                       Stephen Kinnaird
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                                          Counsel for Plaintiff-Appellant

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                 CERTIFICATE OF INTERESTED PERSONS

                                  No. 23-_______

         Career Colleges & Schools of Texas v. U.S. Dep’t of Educ., et al.

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in

the outcome of this case. These representations are made in order that the judges of

this court may evaluate possible disqualification or recusal.

 Plaintiff-Appellant:     Career Colleges & Schools of Texas

 Counsel for              PAUL HASTINGS LLP
 Plaintiff-Appellant:     Allyson B. Baker (allysonbaker@paulhastings.com)
                          Stephen Kinnaird (stephenkinnaird@paulhastings.com)
                          Michael Murray (michaelmurray@paulhastings.com)
                          Sameer P. Sheikh (sameersheikh@paulhastings.com)
                          Tor Tarantola (tortarantola@paulhastings.com)

                          CANTEY HANGER LLP
                          Philip Vickers (pvickers@canteyhanger.com)
                          Katherine Hancock (khancock@canteyhanger.com)
 Plaintiff-Appellant’s    Arlington Career Institute
 member schools           Asher College
 participating in the     Auguste Escoffier School of Culinary Arts
 William D. Ford          Avenue Five Institute
 Federal Direct Loan      Center for Advanced Legal Studies
 Program:                 Collectiv Academy
                          Concorde Career College, Dallas
                          Concorde Career College, Grand Prairie
                          Concorde Career College, San Antonio
                          Culinary Institute LeNotre
                          Deluxe Barber College
                          ECPI University
                          Fortis College, Houston South
                                          2
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                Fortis Institute, Houston North
                Lincoln College of Technology
                McAllen Careers Institute
                Ogle School Hair Skin Nails, Arlington
                Ogle School Hair Skin Nails, Dallas
                Ogle School Hair Skin Nails, Denton
                Ogle School Hair Skin Nails, Fort Worth
                Ogle School Hair Skin Nails, Houston
                Ogle School Hair Skin Nails, Hurst
                Ogle School Hair Skin Nails, North Dallas
                Ogle School Hair Skin Nails, San Antonio
                PCI Health Training Center, Dallas
                PCI Health Training Center, Richardson
                Pima Medical Institute
                Pima Medical Institute, San Antonio
                Southern Careers Institute, Austin
                Southern Careers Institute, Brownsville
                Southern Careers Institute, Corpus Christi
                Southern Careers Institute, Harlingen
                Southern Careers Institute, Pharr
                Southern Careers Institute, San Antonio North
                Southern Careers Institute, San Antonio South
                Southern Careers Institute, Waco
                Southwest University at El Paso
                The College of Health Care Professions, Austin
                The College of Health Care Professions, Dallas
                The College of Health Care Professions, Fort Worth
                The College of Health Care Professions, Houston
                       Southwest
                The College of Health Care Professions, McAllen
                The College of Health Care Professions, Northwest
                The College of Health Care Professions, San Antonio
                The College of Health Care Professions, San Antonio
                       South
                The Ocean Corporation
                Tulsa Welding School & Technology Center
                Vogue College of Cosmetology, Fredericksburg Rd.
                Vogue College of Cosmetology, Ingram Rd.
                Vogue College of Cosmetology, Lubbock
                Vogue College of Cosmetology, McAllen
                              3
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                      West Coast University
                      Western Technical College, Main
Defendants-Appellees: United States Department of Education
                      Miguel Cardona, in his official capacity as Secretary of
                             Education
Counsel for           United States Department of Justice
Defendants-Appellees: Brian M. Boynton
                      Marcia Berman
                      Christine L. Coogle (christine.l.coogle@usdoj.gov)
                      Cody T. Knapp (cody.t.knapp@usdoj.gov)
                      R. Charlie Merritt (robert.c.merritt@usdoj.gov)
Other interested      Career Education Colleges and Universities
entities:             Institutions that participate in Title IV programs (see list
                             at https://fsapartners.ed.gov/knowledge-
                             center/library/federal-school-code-lists/2023-04-
                             27/2023-24-federal-school-code-list-
                             participating-schools-may-2023)




                                                         /s/ Stephen B. Kinnaird
                                                         Stephen B. Kinnaird

                                                         Attorney of record for
                                                         Plaintiff-Appellant




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      Plaintiff-Appellant Career Colleges and Schools of Texas (“CCST”) moves

this Court to issue a temporary administrative injunction staying the effective date

of the challenged rule, 87 Fed. Reg. 65904 (Nov. 1, 2022) (the “Rule”), while the

Court decides CCST’s motion for injunction pending appeal, filed

contemporaneously with and incorporated by reference within the instant motion.

See In re Abbott, 800 F. App’x 296, 298 (5th Cir. 2020) (“Entering temporary

administrative stays so that a panel may consider expedited briefing in emergency

cases is a routine practice in our court.”). Because of the Rule’s complexity, the

need for the Government to respond to the motion for temporary injunction

pending appeal, and the advent of the holiday weekend, it is unlikely that the Court

can resolve the full motion for an injunction pending appeal by tomorrow, when

the Rule goes into effect. Given the Rule’s clear illegality and the imminent and

irreparable harm described in its motion for injunction pending appeal, CCST

respectfully requests that the Court grant this motion for a temporary

administrative injunction before July 1, 2023, the effective date of the Rule.

Defendants oppose this motion.




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Dated: June 30, 2023                      Respectfully submitted,

                                           /s/ Stephen B. Kinnaird
     Philip Vickers                       Allyson B. Baker*
     Katherine Hancock                    Stephen Kinnaird
     CANTEY HANGER LLP                    Michael Murray*
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                                          Counsel for Plaintiff-Appellant

  * Application for admission or readmission pending.




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                         CERTIFICATE OF SERVICE

      Pursuant to Fed. R. App. P. 25(d) and 5th Cir. R. 25.2.5, I hereby certify that

on June 30, 2023, I caused the foregoing motion to be served by email and courier

on the following counsel for Defendants-Appellees:

      Christine L. Coogle (christine.l.coogle@usdoj.gov)
      Cody T. Knapp (cody.t.knapp@usdoj.gov)
      R. Charlie Merritt (robert.c.merritt@usdoj.gov)
      U.S. Department of Justice
      Civil Division
      Federal Programs Branch
      1100 L St. NW
      Washington, D.C. 20005

                                                 /s/ Stephen B. Kinnaird
                                                 Stephen B. Kinnaird
                                                 Attorney for Plaintiff-Appellant




                      CERTIFICATE OF CONFERENCE

      I hereby certify that on June 30, 2023, Allyson Baker, counsel for Plaintiff-

Appellant, conferred by telephone with Cody Knapp, counsel for Defendants-

Appellees, about the foregoing motion. Defendants oppose the relief requested in

this motion.

                                                 /s/ Stephen B. Kinnaird
                                                 Stephen B. Kinnaird
                                                 Attorney for Plaintiff-Appellant



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           CERTIFICATE OF COMPLIANCE WITH 5TH CIR. R. 27.3

      I certify that the facts supporting emergency consideration of this motion are

true and complete.

                                                /s/ Stephen B. Kinnaird
                                                Stephen B. Kinnaird
                                                 Attorney for Plaintiff-Appellant



    CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT,
   TYPFACE REQUIREMENTS, AND TYPE-STYLE REQUIREMENTS

      This document complies with the word limit of Fed. R. App. P. 27(d)(2)(a)

because, excluding the parts of the document exempted by Fed. R. App. P. 32(f), it

contains 187 words. This brief also complies with the typeface requirements of

Fed. R. App. P. 32(a)(5) and 5th Cir. R. 32.1 and the type-style requirements of

Fed. R. App. P. 32(a)(6) because it has been prepared in a proportionally spaced

typeface using Microsoft Word in 14-point Times New Roman font. Additionally, I

certify that any required redactions have been made in compliance with 5th Cir. R.

25.2.13.

                                                /s/ Stephen B. Kinnaird
                                                Stephen B. Kinnaird
                                                Attorney for Plaintiff-Appellant


Dated: June 30, 2023



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